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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


CEDRIQUEZ McCAA,                      )
                                      )
     Petitioner,                      )
                                      )            CIVIL ACTION NO.
     v.                               )              2:20cv803-MHT
                                      )                   (WO)
UNITED STATES OF AMERICA,             )
                                      )
     Respondent.                      )


                                   OPINION

    Pursuant to 28 U.S.C. § 2255, petitioner filed this

post-conviction         challenge         to   his      conviction      and

sentence.       This lawsuit is now before the court on the

recommendation of the United States Magistrate Judge

that the petition be dismissed for lack of jurisdiction

because the required permission to file a successive

petition       has    not   been     obtained       from   the   Eleventh

Circuit Court of Appeals.                 There are no objections to

the recommendation.          After an independent and de novo

review    of    the   record,      the     court    concludes    that   the

magistrate judge’s recommendation should be adopted.
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An appropriate judgment will be entered.

DONE, this the 29th day of December, 2020.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
